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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE SOUTHERN DISTRICT OF NEW YORK



 BRIANNA FOSTER and JENNIFER                         Civil Action No.:
 SCHULTZ, individually and on behalf of all
 others similarly situated,
                                                     CLASS ACTION COMPLAINT AND
                               Plaintiffs,           DEMAND FOR JURY TRIAL

        v.

 SMARTYPANTS, INC., d/b/a
 SMARTYPANTS HEALTHY MINDS, INC.

                               Defendant.


       Plaintiffs Brianna Foster and Jennifer Schultz (collectively, “Plaintiffs”) bring this action

on behalf of themselves and all others similarly situated against Defendant SmartyPants, Inc.,

d/b/a SmartyPants Healthy Minds, Inc. (“SmartyPants” or “Defendant”). Plaintiffs make the

following allegations pursuant to the investigation of their counsel and based upon information

and belief, except as to allegations specifically pertaining to themselves, which are based on

personal knowledge.

                                 NATURE OF THE ACTION

       1.      This is a class action lawsuit against SmartyPants for cheating customers by

selling SmartyPants-branded multivitamins (collectively, the “Multivitamins,” enumerated

below) that are represented to be “Complete” products that provide “Essential” nutrition

(together with the labeling claims discussed below, the “Misrepresentations”). However, these

purportedly “Complete” and “Essential” multivitamins fail to contain a number of essential

nutrients, including vitamin K, riboflavin (vitamin B-2), and niacin (vitamin B-3). So important

are these vitamins that the U.S. Food and Drug Administration (“FDA”) has identified them as

among the “13 vitamins that the body absolutely needs.” The full list of vitamins that the FDA


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has identified as necessary to human health includes “vitamins A, C, D, E, K, and the B vitamins

(thiamine [(B-1)], riboflavin [(B-2)], niacin [(B-3)], pantothenic acid [(B-5)], biotin [(B-7)],

vitamin B-6, vitamin B-12 and folate [(B-9)]).”

       2.      At issue are the following multivitamins, each of which contains or, during the

Class Period, has contained the representation “Complete” on the label: SmartyPants Kids

Complete Multivitamin; SmartyPants Kids Complete and Fiber Multivitamin; SmartyPants

Organics Vegetarian Kids Complete Multivitamin; SmartyPants Organics Vegetarian Kids &

Toddler Complete Multivitamin; SmartyPants Teen Guy! Complete Multivitamin; SmartyPants

Men’s Complete Multivitamin; SmartyPants Men’s MO Complete Multivitamin; SmartyPants

Masters Complete Multivitamin for Men 50+; SmartyPants Masters Complete Multivitamin for

Women 50+; SmartyPants Adult Complete Multivitamin; and SmartyPants Adult Complete and

Fiber Multivitamin (collectively, the “Multivitamins”). None of these purportedly “Complete”

Multivitamins contain all “13 vitamins that the body absolutely needs,” per FDA guidance.

       3.      For the foregoing reasons, Plaintiffs bring this action individually and on behalf

of a nationwide class and California and New York subclasses of similarly situated individuals

who, within the applicable statute of limitations period up to and including the date of judgment

in this action, purchased Defendant’s Multivitamins. Based on Defendant’s unlawful conduct,

Plaintiffs seek damages, restitution, declaratory relief, injunctive relief, and reasonable

attorneys’ fees and costs, for: (i) violation of New York’s General Business Law § 349; (ii)

violation of New York’s General Business Law § 350; (iii) violation of California’s Unfair

Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.; (iv) violation of

California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500, et seq.; (v)

violation of California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civil Code §§ 1750, et




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seq.; (vi) breach of express warranty; (vii) breach of the implied warranty of merchantability;

(viii) unjust enrichment; (ix) negligent misrepresentation; and (x) fraud.

                                         THE PARTIES

       4.      Plaintiff Brianna Foster is a natural person and citizen of the State of New York

who resides in the Poughkeepsie, NY. Ms. Foster purchased Defendant’s SmartyPants Kids

Complete and Fiber Multivitamin on several occasions during the Class Period, with her most

recent purchase occurring on or about May 15, 2019, through Amazon’s online retail platform.

Prior to that point, Ms. Foster also purchased her Multivitamins in or around February 2019,

November 2018, June 2017, April 2017, and March 2017. Prior to her purchases, Ms. Foster

reviewed the labeling, packaging, and marketing materials for her Multivitamins and saw the

representations that, among other things, the product is purportedly a “Complete Multivitamin”

with “essential nutrition[,]” including “important … vitamins[,]” and that “every nutrient that

goes into [the] gummies is carefully chosen based on extensive research.” Ms. Foster

understood these claims to be representations and warranties by Defendant that the

Multivitamins contain all the vitamins that the human body absolutely needs. Based on that

understanding, Ms. Foster purchased her Multivitamins because she specifically sought a

vitamin supplement that encompasses all essential vitamins in a single product, since it is easier

for her son to take one supplement with all necessary vitamins and nutrients rather than seeking

the same result by taking a handful of different pills. Ms. Foster therefore reasonably relied on

these representations when she purchased her Multivitamins. However, Ms. Foster’s

Multivitamins lack certain essential vitamins necessary for complete nutrition, including vitamin

K and niacin (vitamin B-3). Ms. Foster relied on Defendant’s representations and warranties in

deciding to purchase the Multivitamins, and these representations were part of the basis of the

bargain in that she would not have purchased the Multivitamins if she had known that they do



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not, in fact, contain all 13 FDA-recommended “essential vitamins” and is therefore not a

“complete multivitamin.” Ms. Foster also understood that, in making the sale, Amazon was

acting with the knowledge and approval of the manufacturer, Defendant, and/or as Defendant’s

agent. Ms. Foster also understood that her purchase involved a direct transaction between

herself and Defendant, because her purchase came with packaging and other materials prepared

by Defendant, including representations and warranties that her Multivitamins product is, among

other things, a “Complete Multivitamin” made with “essential nutrition” and “important …

vitamins[.]”1

       5.       Plaintiff Jennifer Schultz is a natural person and citizen of the State of California

who resides in Grass Valley, CA. In or around June 2020, Ms. Schultz purchased Defendant’s

SmartyPants Kids Complete Multivitamin at a Costco retail store in California. Up until that

point, Ms. Schultz had been regularly purchasing the same Multivitamin product with a

frequency of approximately every three to four months. Prior to her purchases, Ms. Schultz

reviewed the labeling, packaging, and marketing materials for SmartyPants Kids Complete

Multivitamins and saw the Misrepresentations that, among other things, the product is

purportedly a “Complete Multivitamin” that promises that it is made with “Superstar

Ingredients” and that “every nutrient that goes into [the] gummies is carefully chosen based on

extensive research.” Ms. Schultz understood these claims to be representations and warranties


1
 Defendant also claims in its marketing materials that, “[n]owadays, it’s impossible to give
one’s kids the essential nutrition they need solely through their diet. One way or another,
something will always be lacking. Now, you shouldn’t need to formulate a perfect diet for your
child, but it’s essential that you supplement their bodies with important trace … vitamins[] and
Omega-3 fatty acids. One way you can do that is with Smarty Pants Kids Complete and Fiber,
which supports healthy development and provides energy.” https://www.luckyvitamin.com/p-
553730-smartypants-kids-complete-multivitamin-and-fiber-120-
gummies?LanguageCode=EN&locale=en-
US&as=nd&scid=scplp132466&sc_intid=132466&utm_campaign=LV-US-ShoppingCampaign-
SmartShopping-TopBrands&gclid=Cj0KCQjwxJqHBhC4ARIsAChq4au4VxxKn0p-
VRywWc89Or5r5wQFCWJml4Kkk-q0293YHIX84MjLqJsaAjQyEALw_wcB (emphasis
added).


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by Defendant that her Multivitamin product contains all the vitamins that the human body

absolutely needs. Based on that understanding, Ms. Schultz purchased the Multivitamins for her

children’s consumption because she specifically sought a vitamin supplement that encompasses

all essential vitamins in a single product. According to Ms. Schultz, she purchased the

Multivitamins because her “children need vitamins[,]” “the bottle said it covered all the basic

vitamins[,]” and “[i]t’s easier for her children to take one [supplement]” as opposed to several.

Ms. Schultz therefore reasonably relied on these representations when she purchased her

Multivitamins. However, Ms. Schultz’s Multivitamins lack certain essential vitamins necessary

for complete nutrition, including vitamin K and niacin (vitamin B-3). Ms. Schultz relied on

Defendant’s representations and warranties in deciding to purchase the Multivitamins, and these

representations were part of the basis of the bargain in that she would not have purchased the

Multivitamins if she had known that they do not, in fact, contain all 13 FDA-recommended

“essential vitamins” and is therefore not a “complete multivitamin.” Ms. Schultz also

understood that Costco, in making the sale, was acting with the knowledge and approval of the

manufacturer, Defendant, and/or as Defendant’s agent. Ms. Schultz also understood that her

purchase involved a direct transaction between herself and Defendant as manufacturer of the

Multivitamins, because her purchase came with packaging and other materials prepared by

Defendant, including representations and warranties that her Multivitamin is, among other

things, a “Complete Multivitamin” and that “every nutrient that goes into our gummies is

carefully chosen based on extensive research.”2


2
  Defendant further represents that, “[a]t SmartyPants, they’re all about simplifying health.
SmartyPants’ gummy obsession started because they believed that the very best vitamins are all
in one: premium ingredients delivered in a delicious package and sold at a fair price.
SmartyPants combine nutrients … with a full multivitamin to save you money, time, and peace
of mind.” https://www.luckyvitamin.com/p-2700583-smartypants-kids-complete-multivitamin-
and-fiber-formula-90-gummies?LanguageCode=EN&locale=en-
US&as=nd&scid=scplp180985&sc_intid=180985&utm_campaign=LV-US-ShoppingCampaign-
SmartShopping-


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       6.      Defendant SmartyPants, Inc. (“SmartyPants” or “Defendant”) is a corporation

organized under the laws of the state of Delaware, with its principal place of business at 4056

Del Rey Ave., Marina Del Ray, CA 90292. Relevant to Plaintiffs’ claims herein, SmartyPants is

a leading global manufacturer, seller, and distributor of nutritional and dietary supplements.

SmartyPants has done business in and throughout New York, California, and the United States at

all times during the Class Period. At all relevant times, SmartyPants has advertised, marketed,

manufactured, distributed, and/or sold (among other things) nutritional or dietary supplements,

including the Multivitamins at issue, to consumers in and throughout New York, California, and

the United States. At all relevant times, SmartyPants formulated, directed, controlled, had the

authority to control, and/or participated in the acts and practices set forth in this Complaint.

       7.      Plaintiffs reserve the right to amend this Complaint to add different or additional

defendants, including without limitation any officer, director, employee, supplier, or distributor

of Defendant who has knowingly and willfully aided, abetted, and/or conspired in the false and

deceptive conduct alleged herein.

                                 JURISDICTION AND VENUE

       8.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A),

as amended by the Class Action Fairness Act of 2005 (“CAFA”), because this case is a class




TopBrands&gclid=Cj0KCQjwxJqHBhC4ARIsAChq4avJ6y6K23Hf7jORLKWxfvuCIMY2ZgP
VgFmM6sptioP7G2pOv9f_XEoaAgEREALw_wcB (emphasis added).
        See also https://www.vitacost.com/smartypants-kids-formula-and-fiber-multivitamin-
gummies?&CSRC=GPF-PA-851356004071-Google_PLA_REM_Vitamins+%26+Supplements-
&network=g&keywordname=&device=c&adid=92700057463647689&matchtype=&gclick=Cj0
KCQjwxJqHBhC4ARIsAChq4atdbGlzga7fjKXGBEjyMoNpq_PppJBX98TiAfRjUjnTrH3yn87e
BAkaAk6hEALw_wcB&ds_agid=58700006365135728&targetid=&gclid=Cj0KCQjwxJqHBhC
4ARIsAChq4atdbGlzga7fjKXGBEjyMoNpq_PppJBX98TiAfRjUjnTrH3yn87eBAkaAk6hEAL
w_wcB&gclsrc=aw.ds (“We started SmartyPants because we believe the very best vitamins are
all in one: premium ingredients delivered in a delicious package at a fair price. The people we
care most about take these gummies, so we wake up every day trying to make them better and
better. Our goal, good health for the real world. All of it.”).


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action where the aggregate claims of all members of the proposed class are in excess of

$5,000,000.00, exclusive of interest and costs, there are over 100 members of the putative class,

and Plaintiffs, as well as most members of the proposed class, are citizens of different states than

Defendant.

        9.      This Court has personal jurisdiction over Defendant because Defendant has

continuous and systematic contacts with the State of New York, rendering it essentially “at

home” in this State. Moreover, Defendant has purposefully availed itself of the laws and

benefits of doing business in this State, and Plaintiffs’ claims arise out of Defendant’s forum-

related activities. Furthermore, a substantial portion of the events giving rise to Plaintiffs’ claims

occurred in this State, including Plaintiff Brianna Foster’s repeated purchases of Multivitamins at

issue in this case.

        10.     This Court is the proper venue for this action pursuant to 28 U.S.C. § 1391

because a substantial part of the events, omissions, and acts giving rise to Plaintiffs’ claims

herein occurred in this District. Moreover, Plaintiff Foster resides in this District and, on several

occasions between 2017 and 2019, purchased Defendant’s Multivitamins in this District.

                                  FACTUAL ALLEGATIONS

        A.      The FDA Explains That “There Are 13 Vitamins That The Body Absolutely
                Needs”

        11.     In a February 21, 2009 consumer bulletin entitled Fortify Your Knowledge About

Vitamins3, the FDA notes that: “Vitamins are essential nutrients that contribute to a healthy life.

Although most people get all the vitamins they need from the foods they eat, millions of people

worldwide take supplemental vitamins as part of their health regimen.”




3
 https://www.fda.gov/consumers/consumer-updates/fortify-your-knowledge-about-vitamins (last
accessed on July 29, 2020)


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       12.     The FDA further states that: “There are many good reasons to consider taking

vitamin supplements, such as over-the-counter multivitamins. According to the American

Academy of Family Physicians (AAFP), a doctor may recommend that you take them[] for

certain health problems, if you eat a vegetarian or vegan diet, [or] if you are pregnant or

breastfeeding.”

       13.     Additionally, the FDA states that: “The 2005 Dietary Guidelines for Americans

advises that nutrient needs be met primarily through consuming foods, with supplementation

suggested for certain sensitive populations. These guidelines, published by the Department of

Health and Human Services and the U.S. Department of Agriculture (USDA), provide science-

based advice to promote health and to reduce risk for chronic diseases through diet and physical

activity. They form the basis for federal food, nutrition education, and information programs.”

       14.     Barbara Schneeman, Ph.D., Director of the FDA’s Office of Nutritional Products,

Labeling, and Dietary Supplements, says, “[t]he Guidelines emphasize that supplements may be

useful when they fill a specific identified nutrient gap that cannot or is not otherwise being met

by the individual’s intake of food.”

       15.     In turn, the FDA warns that “many people consume more calories than they need

without taking in recommended amounts of a number of nutrients. The Guidelines warn that

there are numerous nutrients – including vitamins – for which low dietary intake may be a cause

of concern.”

       16.     When choosing vitamins, the FDA specifies that “[t]here are 13 vitamins that the

body absolutely needs: vitamins A, C, D, E, K, and the B vitamins (thiamine [(B-1)], riboflavin

[(B-2)], niacin [(B-3)], pantothenic acid [(B-5)], biotin [(B-7)], vitamin B-6, vitamin B-12 and

folate [(B-9)]).”




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       B.      Despite Being Marketed As “Complete” Multivitamins, Defendant’s
               Products Do Not Contain These 13 Essential Vitamins

       17.     All of the Multivitamins at issue are substantially similar. All varieties are

manufactured at Defendant’s headquarters in North America. Moreover, the labels of all of the

SmartyPants Multivitamins are substantially similar. Despite the FDA’s clear guidance

regarding “vitamins that the body absolutely needs,” numerous SmartyPants multivitamins fail

to contain all 13 essential vitamins. And yet, these products are voluntarily labeled as being

“Complete” multivitamins that offer “Essential” daily nutrition and “Aid Bones, Energy, and

Digestion.” Even worse, none of the product labels expressly state that the products are in fact

“incomplete,” or otherwise disclose that the products do not contain all “essential” vitamins.

Indeed, if a reasonable consumer were to review the Supplement Facts portion on the back of the

labels, he or she would not have any reason to know or suspect that the products at issue do not

have all of the vitamins that the FDA deems to be “essential.”




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       18.     For example, “SmartyPants Kids Complete Multivitamin” prominently represents

that it is a “Complete” Multivitamin. However, the product fails to contain vitamin K and niacin

(vitamin B-3):4




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  Additionally, various marketing materials for SmartyPants Kids Complete Multivitamin
represent that the product is an “All-in-One” multivitamin that will “[h]elp your kids get the
nutrients that they don’t always get in their diets[,]” and that, “[w]ith 13 essential nutrients[,] …
these delicious gummies make it easy to give your children what they need.”
https://www.desertcart.com.py/products/56299743-smarty-pants-childrens-all-in-one-
multivitamin-plus-omega-3-plus-vitamin-d-2-pack-180-ct-total-360-ct.


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       19.       Similarly, “SmartyPants Kids Complete and Fiber Multivitamin” prominently

represents that it is a “Complete” Multivitamin. However, the product fails to contain vitamin K

and niacin (vitamin B-3):




       20.       “SmartyPants Organics Vegetarian Kids Complete Multivitamin” prominently

represents that it is a “Complete” Multivitamin. However, the product fails to contain niacin

(vitamin B-3):




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       21.    “SmartyPants Organics Vegetarian Kids & Toddler Complete Multivitamin”

prominently represents that it is a “Complete” Multivitamin. However, the product fails to

contain niacin (vitamin B-3):




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       22.     “SmartyPants Teen Guy! Complete Multivitamin” prominently represents that it

is a “Complete” Multivitamin (and also that it is, in fact, “More than a Multivitamin”).

However, the product fails to contain vitamin K:




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       23.     “SmartyPants Men’s Complete Multivitamin” prominently represents that it is a

“Complete” Multivitamin (and also that it is, in fact, “More than a Multivitamin”). However,

the product fails to contain vitamin K:




       24.     “SmartyPants Men’s MO Complete Multivitamin” prominently represents that it

is a “Complete” Multivitamin (and also that it is, in fact, “More than a Multivitamin”).

However, the product fails to contain vitamin K:




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       25.     “SmartyPants Masters Complete Multivitamin for Men 50+” prominently

represents that it is a “Complete” Multivitamin (and also that it is, in fact, “More than a

Multivitamin”). However, the product fails to contain riboflavin (vitamin B-2):




       26.     Likewise, “SmartyPants Masters Complete Multivitamin for Women 50+”

prominently represents that it is a “Complete” Multivitamin (and also that it is, in fact, “More

than a Multivitamin”). However, the product fails to contain riboflavin (vitamin B-2):




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       27.       “SmartyPants Adult Complete Multivitamin” prominently represents that it is

“Complete” (and also that it is, in fact, “More than a Multivitamin”). Additionally, the product’s

labeling and packaging explicitly states, “Inside this bottle is a major breakthrough in gummy

technology. We combined a full multivitamin with Omega 3s and Vitamin D into one delicious

package.” (emphasis added). However, the product fails to contain vitamin K and niacin

(vitamin B-3):




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       28.     “SmartyPants Adult Complete and Fiber Multivitamin” prominently represents

that it is a “Complete Multivitamin” (and also that it is, in fact, “More than a Multivitamin”).

However, the product fails to contain vitamin K and niacin (vitamin B-3):




                                    CLASS ALLEGATIONS

       29.     Class Definition. Plaintiffs seek to represent a class of similarly situated

individuals, defined as all persons in the United States who, within the applicable statute of

limitations period, up to and including the date of final judgment in this action, purchased any of

the Multivitamins at issue (the “Class”).

               (a)     California Subclass. Plaintiff Jennifer Schultz also seeks to represent a

subclass of all Class members who, within the applicable statute of limitations period, up to and

including the date of final judgment in this action, purchased any of the SmartyPants

Multivitamins at issue in California (the “California Subclass”).

               (b)     New York Subclass. Plaintiff Brianna Foster also seeks to represent a

subclass of all Class members who, within the applicable statute of limitations period, up to and




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including the date of final judgment in this action, purchased any of the SmartyPants

Multivitamins at issue in New York (the “New York Subclass”).

       30.     Excluded from the Class and Subclasses are persons who made such purchase for

purpose of resale, Defendant and any entities in which Defendant has a controlling interest,

Defendant’s agents and employees, the judge to whom this action is assigned, members of the

judge’s staff, and the judge’s immediate family.

       31.     Plaintiffs reserve the right to amend the definition of the Class and Subclasses if

discovery or further investigation reveals that the Class or Subclasses should be expanded or

otherwise modified.

       32.     Numerosity. Members of the Class and Subclass are so numerous that their

individual joinder herein is impracticable. On information and belief, members of the Class and

Subclass number in the millions. The precise number of members and their identities are

unknown to Plaintiffs at this time but may be determined through discovery. Class members

may be notified of the pendency of this action by mail and/or publication through the distribution

records of Defendant and third-party retailers and vendors.

       33.     Commonality and Predominance. Common questions of law and fact exist as to

all Class members and predominate over questions affecting only individual Class members.

Common legal and factual questions include, but are not limited to: whether the Multivitamins

contain the “13 vitamins that the body absolutely needs;” whether Defendant warranted the

Multivitamins as “Complete;” whether Defendant breached these warranties; and, if so, whether

Defendant committed statutory and common law fraud by doing so.

       34.     Typicality. The claims of the named Plaintiffs are typical of the claims of the

Class in that the named Plaintiffs Defendant’s Multivitamins in reliance on the representations

and warranties described above and suffered a loss as a result of that purchase.



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         35.   Adequacy. Plaintiffs are adequate representatives of the nationwide Class and

Subclasses because their interests do not conflict with the interests of the Class members they

seek to represent, they have retained competent counsel experienced in prosecuting class actions,

and they intend to prosecute this action vigorously. The interests of Class members will be fairly

and adequately protected by Plaintiffs and their counsel.

         36.   Superiority. The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class members. Each individual Class member may

lack the resources to undergo the burden and expense of individual prosecution of the complex

and extensive litigation necessary to establish Defendant’s liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.

         37.   Defendant has acted or failed to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive relief with respect to the Class and Subclasses as a

whole.

         38.   Without a class action, Defendant will continue a course of action that will result

in further damages to Plaintiffs and members of the Class and will likely retain the benefits of

their wrongdoing.

         39.   Based on the foregoing allegations, Plaintiffs’ claims for relief include those set

forth below.



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                                    CLAIMS FOR RELIEF

                                          COUNT I
                     Violation Of New York’s General Business Law § 349
                            (On Behalf Of The New York Subclass)

       40.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

       41.     Plaintiff Brianna Foster brings this claim individually and on behalf of the

members of the proposed New York Subclass against Defendant.

       42.     New York’s General Business Law § 349 (“GBL § 349”) prohibits deceptive acts

or practices in the conduct of any business, trade, or commerce.

       43.     GBL § 349(h) provides that “any person who has been injured by reason of any

violation of this section may bring … an action to recover his actual damages or fifty dollars,

whichever is greater.” GBL § 349(h) further provides that “[t]he court may, in its discretion,

increase the award of damages to an amount not to exceed three times the actual damages up to

one thousand dollars, if the court finds the defendant willfully or knowingly violated this

section,” and that “[t]he court may award reasonable attorney’s fees to a prevailing plaintiff.”

       44.     Defendant’s design, manufacture, distribution, marketing, advertising, labeling,

and sale of the Multivitamins throughout New York constitutes “business, trade or commerce”

under GBL § 349(a).

       45.     Plaintiff Foster and members of the New York Subclass are consumers and

residents of New York who, at any point within the applicable statute of limitations period, up to

and including the date of final judgment in this action, purchased any of the Multivitamins at

issue for their personal use.

       46.     Defendant’s conduct violates GBL § 349 because Defendant engaged in the

deceptive acts and practices described above, which included marketing messages directed at



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Plaintiff Foster and the New York Subclass members and conveying on the labeling and

packaging for the Multivitamins and elsewhere the Misrepresentations that the Multivitamins are

“Complete” and that they provide, among other things, “essential nutrition” through “premium

ingredients” and “the very best vitamins [] all in one[,]” when in fact they do not contain each of

the “13 vitamins that they body absolutely needs,” and are therefore incomplete.

       47.     Defendant’s marketing and sale of the Multivitamins omitted material facts

concerning the health benefits associated with the use of the Multivitamins. Defendant also

misrepresented facts and made misleading statements and omissions concerning the fitness of the

Multivitamins for providing comprehensive dietary and nutritional support. These

representations were deceptive, false, and misleading given the fact that none of the

Multivitamins at issue contain all “13 vitamins that they body absolutely needs,” per FDA

guidance. For instance, the Multivitamins do not contain vitamin K, a necessary vitamin for

blood clotting and bone development, so important for daily human health that FDA has

identified it as one of the “13 vitamins that the body absolutely needs.” Many of the

Multivitamins are further missing niacin (vitamin B-3), and some of the Multivitamins also fail

to contain riboflavin (vitamin B-2). Defendant’s conduct as described herein is inherently

deceptive and materially misleading, and it was known, or by the exercise of reasonable care,

should have been known, to be untrue, deceptive or misleading by Defendant.

       48.     Defendant’s materially misleading statements and deceptive acts and practices

were directed at the public at large, including Plaintiff Foster and members of the New York

Subclass.

       49.     Defendant’s actions impact the public interest because Plaintiff Foster and the

Class have been injured in exactly the same way as millions of other consumers by Defendant’s

deceptive acts and practices as described herein.



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       50.     Defendant’s acts and practices described above were likely to mislead a

reasonable consumer acting reasonably under the circumstances, including Plaintiff Foster and

members of the New York Subclass.

       51.     Defendant’s misrepresentations, misleading statements, and omissions were

material to Plaintiffs and members of the Class.

       52.     Defendant’s violation of GBL § 349 was willful and knowing. As described

above, at all relevant times, Defendant was fully aware that its Multivitamins failed to contain

vitamin K (along with niacin and riboflavin, in several cases), and that the products at issue were

therefore not “Complete Multivitamins” within the natural meaning that reasonable consumers

would apply to that term, as influenced by the FDA’s guidance. Nonetheless, Defendant,

through its Misrepresentations, misleading statements, and omissions as detailed above,

continued to sell the Multivitamins to New York residents in order to increase its own profits, all

the while bilking millions of consumers out of millions of dollars.

       53.     Plaintiff Foster and members of the New York Subclass suffered injuries as a

direct result of Defendant’s violations of GBL § 349 because: (a) they would not have purchased

the Multivitamins on the same terms if the true facts had been known about the products (i.e., at

the point of purchase); (b) they paid a price premium for the Multivitamins; and (c) the

Multivitamins do not have the characteristics as promised by Defendant.

       54.     Had Plaintiffs and the members of the Class known of Defendant’s deceptive acts

and practices, including and especially the Misrepresentations, misleading statements, and

omissions about the Multivitamins, then they would not have purchased the Multivitamins or

would not have purchased them on the same terms.

       55.     As a result of its unfair, unconscionable and/or deceptive acts and practices,

Defendant was able to charge more for the Multivitamins that what the products are worth.



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       56.     As a direct and proximate result of Defendant’s conduct in violation of GBL §

349, Plaintiff Foster and members of the New York Subclass have been injured in an amount to

be proven at trial, with a statutory minimum of fifty dollars per Class member. Moreover,

because Defendant’s violation was knowing and willful, Plaintiff Foster and New York Subclass

members are entitled to treble damages under GBL § 349(h).

       57.     Plaintiff Foster also seeks injunctive relief, including a state-of-the-art notice

program for the wide dissemination of a factually accurate recall notice for the Multivitamins

and the implementation of a corrective advertising campaign by Defendant.

       58.     Additionally, pursuant to GBL § 349, Plaintiff and New York Subclass members

will seek attorneys’ fees and costs.

                                        COUNT II
                    Violation Of New York’s General Business Law § 350
                           (On Behalf Of The New York Subclass)

       59.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       60.     Plaintiff Brianna Foster brings this claim individually and on behalf of the

members of the proposed New York Subclass against Defendant.

       61.     New York’s General Business Law § 350 (“GBL § 350”) prohibits false

advertising in the conduct of any business, trade, or commerce.

       62.     Pursuant to GBL § 350, false advertising is defined as “advertising, including

labeling, of a commodity … if such advertising is misleading in a material respect.”

       63.     Defendant’s labeling of the Multivitamins promised that the Multivitamins were,

among other Misrepresentations, “Complete” and contained “Essential” vitamins. A reasonable

consumer would understand this representation to mean that the Multivitamins contain each of

the “13 vitamins that they body absolutely needs” per FDA guidance. However, the



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Multivitamins uniformly do not contain vitamin K, and in some cases they also lack riboflavin

(vitamin B-2) and niacin (vitamin B-3), and therefore are not “Complete” as the labeling and

packaging purport.

          64.    Based on the foregoing, Defendant has engaged in consumer-oriented conduct

that is deceptive or misleading in a material way which constitutes false advertising, in violation

of GBL § 350.

          65.    Defendant’s false, misleading, and deceptive statements and representations of

fact were and are likely to mislead a reasonable consumer acting reasonably under the

circumstances.

          66.    Defendant’s false, misleading, and deceptive statements and representations of

facts have resulted in consumer injury or harm to the public interest.

          67.    As a direct result of Defendant’s false, misleading, and deceptive statements and

representations of fact, Plaintiffs and the Class have suffered, and continue to suffer, economic

injury.

          68.    Plaintiff Foster and New York Subclass members have suffered damages as a

direct result of Defendant’s violations of GBL § 350 because: (a) they would not have purchased

the Multivitamins on the same terms if they had known that the Misrepresentations were not

true; (b) they paid a price premium for the Multivitamins; and (c) the Multivitamins do not have

the characteristics, use, benefits, or quantities as promised by Defendant.

          69.    On behalf of herself and other members of the New York Subclass, Plaintiff

Foster seeks to recover: her actual damages or five hundred dollars, whichever is greater; three

times actual damages; and reasonable attorneys’ fees.




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                                         COUNT III
                Violations of California’s Unfair Competition Law (“UCL”),
                  California Business & Professions Code §§ 17200, et seq.
                           (On Behalf Of The California Subclass)

       70.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       71.     Plaintiff Jennifer Schultz brings this claim individually and on behalf of the

members of the proposed California Subclass against Defendant.

       72.     Defendant is subject to California’s Unfair Competition Law, Cal. Bus. & Prof.

Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair competition shall mean and

include unlawful, unfair or fraudulent business practices and unfair, deceptive, untrue or

misleading advertising[.]”

       73.     Defendant’s misrepresentations and other conduct, described herein, violated the

“unlawful” prong of the UCL by violating the CLRA as described herein, the FAL as described

herein, and Cal. Com. Code § 2607.

       74.     Defendant’s misrepresentations and other conduct, described herein, violated the

“unfair” prong of the UCL in that its conduct is substantially injurious to consumers, offends

public policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity of the

conduct outweighs any alleged benefits.

       75.     Defendant violated the “fraudulent” prong of the UCL by making

misrepresentations about the Multivitamins at issue that were untrue and misleading, as

described herein.

       76.     Plaintiff Schultz and the California Subclass lost money or property as a result of

Defendant’s UCL violations because: (a) they would not have purchased the Multivitamins on

the same terms if the true facts were known about the product; (b) they paid a price premium for




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the Multivitamins due to Defendant’s promises and warranties; and (c) the Multivitamins do not

have the characteristics as promised by Defendant.

                                         COUNT IV
                  Violation Of California’s False Advertising Law (“FAL”),
                   California Business & Professions Code §§ 17500, et seq.
                           (On Behalf Of The California Subclass)

       77.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       78.     Plaintiff Jennifer Schultz brings this claim individually and on behalf of the

members of the proposed California Subclass against Defendant.

       79.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500, et seq.,

makes it “unlawful for any person to make or disseminate or cause to be made or disseminated

before the public in this state, … in any advertising device … or in any other manner or means

whatever, including over the Internet, any statement, concerning … personal property or

services, professional or otherwise, or performance or disposition thereof, which is untrue or

misleading and which is known, or which by the exercise of reasonable care should be known, to

be untrue or misleading.”

       80.     Defendant committed acts of false advertising, as defined by §17500, by

misrepresenting that the Multivitamins are “Complete” and “Essential” multivitamins.

       81.     Defendant knew or should have known, through the exercise of reasonable care,

that their representations about the Multivitamins were untrue and misleading.

       82.     Defendant’s actions in violation of § 17500 were false and misleading such that

the general public is and was likely to be deceived.

       83.     Plaintiff Schultz and the California Subclass lost money or property as a result of

Defendant’s FAL violations because: (a) they would not have purchased the SmartyPants

Multivitamins on the same terms if the true facts were known about the product; (b) they paid a


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price premium for the Multivitamins due to Defendant’s promises and warranties; and (c) the

Multivitamins do not have the characteristics as promised by Defendant.

                                          COUNT V
             Violation Of California’s Consumers Legal Remedies Act (“CLRA”),
                            California Civil Code §§ 1750, et seq.
                           (On Behalf Of The California Subclass)

       84.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       85.     Plaintiff Jennifer Schultz brings this claim individually and on behalf of the

members of the proposed California Subclass against Defendant.

       86.     Plaintiffs and members of the Class are “consumers” within the meaning of Cal.

Civil Code § 1761(d) in that Plaintiffs and the Class sought or acquired Defendant’s goods

and/or services for personal, family, or household purposes.

       87.     Defendant’s Multivitamins are “goods” within the meaning of Cal. Civil Code §

1761(a). The purchases by Plaintiffs and the Class are “transactions” within the meaning of Cal.

Civil Code § 1761(e).

       88.     The acts and practices of Defendant as described above were intended to deceive

Plaintiffs and the Class as described herein, and have resulted, and will continue to result, in

damages to Plaintiffs and members of the Class. These actions violated, and continue to violate,

the CLRA in at least the following respects: (a) Defendant’s acts and practices constitute

representations deceiving that the Multivitamins have characteristics, uses, and/or benefits,

which they do not have, in violation of Cal. Civil Code § 1770(a)(5); (b) Defendant’s acts and

practices constitute representations that the Multivitamins are of a particular standard, quality, or

grade, when in fact they are of another, in violation of Cal. Civil Code § 1770(a)(7); and (c)

Defendant’s acts and practices constitute the advertisement of the goods in question with the

intent not to sell them as advertised, in violation of Cal. Civil Code § 1770(a)(9).


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       89.     Defendant violated these provisions of the CLRA by misrepresenting that the

Multivitamins are “Complete” and “Essential” multivitamins.

       90.     Plaintiff Schultz and the California Subclass suffered injuries caused by

Defendant’s CLRA violations because: (a) they would not have purchased the SmartyPants

Multivitamins on the same terms if the true facts were known about the product; (b) they paid a

price premium for the Multivitamins due to Defendant’s false and misleading promises and

warranties; and (c) the Multivitamins do not have the characteristics as promised by Defendant.

       91.     Plaintiff Schultz, on behalf of herself and all other members the California

Subclass, seeks an injunction prohibiting Defendant from continuing its unlawful practices in

violation of the CLRA.

       92.     In compliance with the provisions of California Civil Code § 1782, Plaintiffs sent

written notice to Defendant prior to filing this action on July 2, 2020, informing Defendant of

their intention to seek damages under California Civil Code § 1750. The letter was sent via

certified mail, return request, advising Defendant that it was in violation of the CLRA and

demanding that it cease and desist from such violations and make full restitution by refunding

the monies received therefrom. The letter expressly stated that it was sent on behalf of Plaintiffs

and “all other persons similarly situated.” Accordingly, Plaintiff Schultz, individually and on

behalf of the proposed California Subclass, seeks damages from Defendant as permitted by Civil

Code § 1782(d) for Defendant’s violations of the CLRA.

                                         COUNT VI
                                Breach Of Express Warranty
                           (On Behalf Of The Class And Subclasses)

       93.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.




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       94.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class and Subclasses against Defendant.

       95.     Defendant, as the designer, manufacturer, marketer, distributor, and/or seller of

the Multivitamins at issue, expressly warranted the Multivitamins as “Complete” and

“Essential,” among other Misrepresentations.

       96.     In fact, the Multivitamins are not “Complete” or “Essential” as Defendant claims

because they do not contain each of the “13 vitamins that they body absolutely needs” per FDA

guidance. Thus, the Multivitamins are not sold as marketed, advertised, and/or warranted.

       97.     As a result of Defendant’s false and/or misleading Misrepresentations, including

that the Multivitamins are “Complete” and “Essential,” the Multivitamins were defective and did

not adhere to their express warranties when first sold to Plaintiffs and Class Members, and the

Multivitamins have not been repaired, replaced, or otherwise modified from its condition as

originally warranted since the time of sale.

       98.     By breaching its express warranty, Defendant has caused, and continues to cause,

these warranties to fail as to their essential purpose. In other words, the Multivitamins are not fit

for such purpose because, given that the Multivitamins do not contain all “13 vitamins that the

body absolutely needs,” Defendant’s express warranties that the Multivitamins are “Complete”

and “Essential” are false and misleading.

       99.     Plaintiffs and Class Members have been injured and harmed as a direct and

proximate cause of Defendant’s breach of express warranty because: (a) they would not have

purchased the Multivitamins on the same terms if the true facts had been known at the point of

purchase; (b) they paid a price premium for the Multivitamins due to Defendant’s false and

misleading promises and warranties; and (c) the purportedly “Complete” and “Essential”

Multivitamins do not have the characteristics, uses, or benefits as promised by Defendant



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because they do not contain vitamin K (among other essential vitamins) and are therefore in fact

incomplete.

       100.    Plaintiffs, individually and on behalf of the Class and Subclasses, seek all

damages permitted by law, including compensation for the monetary difference between the

Multivitamins as warranted and as sold, all other incidental and consequential damages, statutory

damages, attorney’s fees, and all other relief allowed by law.

                                       COUNT VII
                      Breach Of Implied Warranty Of Merchantability
                         (On Behalf Of The Class And Subclasses)

       101.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       102.    Plaintiffs brings this claim individually and on behalf of the members of the

proposed Class and Subclasses against Defendant.

       103.    Defendant, as the designer, manufacturer, marketer, distributor, and/or seller of

the Multivitamins at issue, impliedly warranted (among other Misrepresentations) that the

Multivitamins are “Complete” and “Essential” multivitamins, when in fact they are not.

       104.    Defendant breached the warranty implied in the contract for the sale of the

Multivitamins because they could not pass without objection in the trade under the contract

description, the goods were not of fair average quality within the description, the goods were not

fit for the ordinary purposes for which such goods are used, and the goods do not conform to the

promises or affirmations of fact made on the label. As a result, Plaintiffs and members of the

proposed Class and Subclasses did not receive the goods as impliedly warranted by Defendant to

be merchantable.

       105.    Plaintiffs and Class members purchased the Multivitamins in reliance upon

Defendant’s skill and judgment and the implied warranties of fitness for the purpose.



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       106.     The Multivitamins were not altered by Plaintiffs or Class members.

       107.    The Multivitamins were defective when they left the exclusive control of

Defendant.

       108.    Defendant knew that the Multivitamins would be purchased and used without

additional testing by Plaintiffs and Class members.

       109.    As a result of Defendant’s false and/or misleading representation that the

Multivitamins are “Complete” and “Essential” (among other Misrepresentations), the

Multivitamins were defectively designed and unfit for their intended purpose. Thus, Plaintiffs

and members of the proposed Class and Subclass did not receive the goods as warranted.

       110.    Plaintiffs and Class members have been injured and harmed as a direct and

proximate cause of Defendant’s breach of implied warranty because: (a) they would not have

purchased the Multivitamins on the same terms if the true facts were known about the

Multivitamins at the point of purchase; (b) they paid a price premium for the Multivitamins due

to Defendant’s false and misleading promises and warranties; and (c) the Multivitamins do not

have the characteristics as promised by Defendant.

                                        COUNT VIII
                               Unjust Enrichment / Restitution
                           (On Behalf Of The Class And Subclasses)

       111.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       112.    Plaintiffs brings this claim individually and on behalf of the members of the

proposed Class and Subclasses against Defendant.

       113.    To the extent the Court determines it is necessary to do so, this claim is pled in the

alternative to the other legal claims alleged in the complaint.




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       114.    Plaintiffs and Class members conferred benefits on Defendant by purchasing the

purportedly “Complete” and “Essential” Multivitamins. Defendant was, and reasonably should

have been, expected to provide Multivitamins that conform with the qualities listed on the

product’s labeling and packaging.

       115.    Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiffs and Class member’s purchases of the Multivitamins. Retention of those moneys under

these circumstances is unjust and inequitable because Defendant misrepresented that the

Multivitamins are “Complete” and “Essential” multivitamins (among other Misrepresentations)

at the time of sale. These Misrepresentations caused injuries to Plaintiffs and Class members

because they would not have purchased the Multivitamins if the true facts were known.

       116.    Defendant unjustly profited from the sale of the Multivitamins at inflated prices as

a result of its false representations, omissions, and concealment of the true qualities of the

Multivitamins. Defendant benefited, at Plaintiffs’ and Class and Subclass members’ expenses,

when it sold incomplete Multivitamins that were inferior to the purportedly “Complete” and

“Essential” Multivitamins that Plaintiffs and Class Members thought they were actually

purchasing at the point of sale. Yet, the price they paid for the incomplete Multivitamins they

ultimately received was the price for a “Complete” Multivitamin product containing “all 13

vitamins that the body absolutely needs,” per FDA guidance.

       117.    As a proximate result of Defendant’s false representations, omissions, and/or

concealment of the true qualities of the Multivitamins, and as a result of Defendant’s resulting

ill-gotten gains, benefits, and profits, Defendant has been unjustly enriched at the expense of

Plaintiffs and Class members. It would be inequitable for Defendant to retain their ill-gotten

profits without paying the value thereof to Plaintiffs and Class Members.




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       118.    There is a direct relationship between Defendant on the one hand, and Plaintiffs

and Class members on the other, sufficient to support a claim for unjust enrichment. Defendant

marketed and sold the Multivitamins with the false and misleading Misrepresentations on their

labeling and packaging that the Multivitamins were “Complete” and “Essential” – in order to

improve retail sales, which in turn improved wholesale sales. Conversely, Defendant knew that

disclosure of the true and incomplete nature of the Multivitamins would suppress retail and

wholesale sales of the Multivitamins, in turn suppressing the demand for the Multivitamins,

resulting in less revenues to Defendant and negatively impacting the reputation of Defendant’s

brand among Class members and consumers at large.

       119.    Because Defendant’s retention of the non-gratuitous benefits conferred on them

by Plaintiffs and Class Members is unjust and inequitable, Plaintiffs and Class Members are

entitled to restitution for their unjust enrichment in the amount of Defendant’s ill-gotten gains,

benefits, and profits, including interest thereon.

       120.    Accordingly, Plaintiffs seek, individually and on behalf of members of the Class

and Subclasses, an order requiring Defendant to disgorge its gains and profits to Plaintiffs and

members of the Classes, together with interest, in a manner to be determined by the Court.

                                          COUNT IX
                                 Negligent Misrepresentation
                            (On Behalf Of The Class And Subclasses)

       121.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       122.    Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class and Subclasses against Defendant.

       123.    As discussed above, Defendant misrepresented that the Multivitamins are

“Complete” and “Essential” multivitamins, notwithstanding the fact that the Multivitamins do



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not contain “all 13 vitamins that the body absolutely needs” and are therefore not, in fact,

“Complete” or “Essential” as their labeling and packaging prominently states.

       124.    At the time Defendant made these representations, Defendant knew or should

have known that these representations were false or made them without knowledge of their truth

or veracity. At an absolute minimum, Defendant negligently misrepresented as “Complete” or

“Essential” multivitamins and/or negligently omitted material facts about the Multivitamins,

namely that the Multivitamins do not contain vitamins that the body absolutely needs and are

therefore incomplete.

       125.    The negligent Misrepresentations and omissions made by Defendant, upon which

Plaintiffs and Class members reasonably and justifiably relied, were intended to induce, and

actually did induce, Plaintiffs and Class Members to purchase the Multivitamins.

       126.    Plaintiffs and Class members would not have purchased the Multivitamins if the

true facts had been known.

       127.    The negligent actions of Defendant caused damage to Plaintiffs and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                                         COUNT X
                                           Fraud
                           (On Behalf Of The Class And Subclasses)

       128.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       129.    Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class and Subclasses against Defendant.

       130.    As discussed above, Defendant provided Plaintiffs and Class members with false

or misleading material information and failed to disclose material facts about the Multivitamins,

including but not limited to the fact that the purportedly “Complete” and “Essential”



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Multivitamins do not contain all “13 vitamins that the body absolutely needs” and are therefore

not, in fact, “Complete” or “Essential” as their labeling and packaging prominently states. These

Misrepresentations and omissions were made with knowledge of their falsehood.

        131.     The Misrepresentations and omissions made by Defendant, upon which Plaintiffs

and Class members reasonably and justifiably relied, were intended to induce, and actually did

induced, Plaintiffs and Class members to purchase the Multivitamins.

        132.     Defendant’s fraudulent actions described above caused damage to Plaintiffs, Class

members, and Subclass members, who are entitled to damages and other legal and equitable

relief as a result.

        133.     Further, as a direct result of Defendant’s willful and malicious conduct, punitive

damages are warranted.

                                       RELIEF DEMANDED

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

seeks judgment against Defendant, as follows:

         A.      For an order certifying the nationwide Class and the Subclasses
                 under Rule 23 of the Federal Rules of Civil Procedure and naming
                 Plaintiffs as representatives of the Class, Plaintiff Brianna Foster as
                 representative of the New York Subclass, Plaintiff Jennifer Schultz
                 as representative of the California Subclass, and Plaintiffs’
                 attorneys as Class Counsel to represent the Class and Subclasses;

         B.      For an order declaring that Defendant’s conduct violates the
                 statutes referenced herein;

         C.      For an order finding in favor of Plaintiffs, the Class, and the
                 Subclasses on all counts asserted herein;

         D.      For compensatory, statutory, and punitive damages in amounts to
                 be determined by the Court and/or jury;

         E.      For prejudgment interest on all amounts awarded;

         F.      For an order of restitution and all other forms of equitable
                 monetary relief;


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         G.     For injunctive relief as pleaded or as the Court may deem proper;

         H.     For an order awarding Plaintiffs and members of the Class and
                Subclasses their reasonable attorneys’ fees and reimbursement of
                litigation expenses and costs of suit;

         I.     Damages, restitution, and/or disgorgement in an amount to be
                determined at trial; and

         J.     For such other and further relief as the Court may deem proper.

                                 DEMAND FOR TRIAL BY JURY

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of any

and all issues in this action so triable of right.


Dated: July 28, 2021                             Respectfully submitted,

                                                 BURSOR & FISHER, P.A.

                                                 By:      /s/ Neal J. Deckant
                                                              Neal J. Deckant

                                                 Neal J. Deckant
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                                                 * Pro Hac Vice Application Forthcoming

                                                 Attorneys for Plaintiffs and the Putative Class




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        CLRA Venue Declaration Pursuant to California Civil Code Section 1780(d)

       I, Neal J. Deckant, declare as follows:

       1.      I am an attorney at law licensed to practice in the State of New York and a

member of the bar of this Court. I am a Partner at Bursor & Fisher, P.A., counsel of record for

Plaintiffs Jennifer Schultz and Brianna Foster in this action. I have personal knowledge of the

facts set forth in this declaration and, if called as a witness, I could and would competently

testify thereto under oath.

       2.      The Complaint filed in this action is filed in the proper place for trial under Civil

Code Section 1780(d) in that a substantial portion of the events alleged in the Complaint

occurred in the Southern District of New York. Further, Plaintiff Brianna Foster alleges she is a

citizen of New York who resides in Poughkeepsie, New York. Additionally, Defendant

allegedly marketed and sold the products at issue to Plaintiff and similarly situated New York

consumers in this District.

       I declare under the penalty of perjury under the laws of the State of New York and the

United States that the foregoing is true and correct, and that this declaration was executed at

Walnut Creek, California, this 28th day of July, 2021.


                                                              /s/ Neal J. Deckant
                                                                  Neal J. Deckant




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